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                 EXHIBIT "1"
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                                                    11/10/2022   ER    $22.00




            NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU
            MAY REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION
            FROM ANY INSTRUMENT THAT TRANSFERS AN INTEREST IN REAL PROPERTY
            BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL
            SECURITY NUMBER OR YOUR DRIVER'S LICENSE NUMBER.

                                        SPECIAL WARRANTY DEED


                         Sept.   1-'i,2022

                         MICHAEL BURKE
                          21 ROYAL GLEN DRIVE,
                               00D, TX 77339

           Grantee:               GLEN TRUST,
                               INA DE PASQUALE AS TRUSTEE
           Address:      P. 0. BOX 133U
                         THE WOODLA         TX 77393

           Consideration:

           Ten and No/100 (10.00) Dollars an

            Property: (including any improvements)>

                  Leeal Description: LOT TWENTY-SE.                        BLOCK SIXTEEN
                  (16), OF ELM GROVE VILLAGE, SE                           2), AN ADDITION
                  IN HARRIS COUNTY, TEXAS, ACCORD                        THE MAP OR PLAT
                  THEREOF RECORDED IN VOLUME 286,                   A     13     F' THE MAP
                  RECORDS OF HARRIS COUNTY, TEXAS.


          TAX ID# 1143850160027

           Also known as: 2923 ROYAL GLEN DRIVE, KINGWOOD, TX


           Exceptions to Conveyance and Warranty: Liens described as of the Considerati W‘.
           any other liens described in this deed as being either assumed by Grantee or subject to W
           title is taken by Grantee; validly existing restrictive covenants common to the platte
           subdivision in which the Property is located; standby fees, taxes and assessments by any
           taxing authority for the year 2022 and subsequent years, and subsequent taxes and
           assessments by any taxing authority for prior years due to change in land usage or ownership;
           validly existing utilities easements created by the dedication deed or plat of the subdivision
           in which the Property is located; any discrepancies, conflicts, or shortages in area or
           boundary lines, or any encroachments or protrusions, or any overlapping of improvements;
           homestead or community property or survivorship rights, if any, of any spouse or Grantee;
           and any validly existing titles or rights asserted by anyone, including but not limited to
           persons, the public, corporations, governments, or other entities, to (a) tidelands or lands
                                                                                                       1
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            comprising the shores or beds of navigable or perennial rivers and streams, lakes, bays, gulfs,
            or oceans, (b) lands beyond the line of the harbor or bulkhead lines as established or changed
            by any government, (c) filled -in lands or artificial islands, (d) statutory water rights,
            including riparian rights, or the area extending from the line of mean low tide to the line of
            vegetation or the right of access to that area or easement along and across that area.

            Grantor, for the Consideration and subject to the Exceptions to Conveyance and Warranty, gran
            seas, and conveys to Grantee the Property, together with all and singular the rights and appurtenancesthereto
                    in any way belonging, to have and to hold it to Grantee and Grantee's heirs, s
            assigns forever. Grantor binds Grantor and Grantor's heirs and successors to warran
            defend all and singular the Property to Grantee and Grantee's heirs, successors an
            every person whomsoever lawfully claiming or to claim the same or any part thereof when the c
            is by, through or under Grantor but not otherwise, except as to the ExceptionS.           7!er4,11ce and
            Warranty.

            The grantor is not warranting the habitability of the premises on said             aritee is accepting
            property in an AS -IS condition and will have no recourse in the courts               "grantor for any
            property conditions. This Conveyance Is Made Subject-T But                       Wise Assuming All
            Outstanding Liens Of Record. All Escrows, If Any, Pass To.

                    When the context requires, singular nouns and                       lude the plural.




                               SUBSCRIBED before me by MICHAEL BURKE




                                                                             nifyVeZ
                                            LUZ M EGUIA
                                        Notary ID #133947568         NOTARY
                                        My Commission Expires        STATE OF T“'-5
                                                                     Notary's Name: kiz      rytit
                                                                                                     ,po
                                          September 6, 2026
                                                                     Notary Commission Expires.


                                                                                                                 2
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                         11/10/2022 03:33 PM
                         e -Filed & e -Recorded in the
                             -
                             Acial Public Records of
                         HARRIS COUNTY
                                SHIA HUDSPETH
                         COUNTY CLERK
                         Fees     $22.00




                        RECORDERS MEMORANDUM
                        This instrument was received and recorded       ronically
                        and any blackouts, additions or change$Hm      resent
                        at the time the instrument was filed aft.    ord d.




                        Any provision herein which restricts the sale, ren
                        use of the described real property because of color
                        race is invalid and unenforceable under federal law.
                        THE STATE OF TEXAS
                        COUNTY OF HARRIS
                        I hereby certify that this instrument was FILED in
                        File Number Sequence on the date and at the time stamped
                        hereon by me; and was duly RECORDED in the Official
                        Public Records of Real Property of Harris County, Texas



                                                     ,41yah-k,
                                            COUNTY CLERK
                                            HARRIS COUNTY, TEXAS
